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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLORADO

Civil Action No.
THOMAS MONTOYA,
Plaintifé,

Vs.

05-cv-02533-EWN-MJUW

BOARD OF COUNTY COMMISSIONERS, CHAFFEE COUNTY,

COLORADO,

CHAFFEE COUNTY SHERIFF TIMOTHY WALKER,

CHAFFEE COUNTY DEPUTY SHERIFF SCOTT, GLENN, DAVID PRATT,

 

 

 

BOARD OF COUNTY COMMISSIONERS, PARK COUNTY, COLORADO,
PARK COUNTY SHERIFF FRED WEGENER,
Defendants.
DEPOSITION OF THOMAS MONTOYA
July 24, 2006
APPERARANCES:
MARCEL KRZYSTERK, ESQ.

FOR THE PLAINTIFF:

FOR THE DEFENDANTS,
BOARD OF COUNTY
COMMISSIONERS OF CHAFFEE
COUNTY, TIMOTHY WALKER
BOARD OF COUNTY
COMMISSIONERS OF PARK
COUNTY and FRED WEGENER:

FOR THE DEFENDANT,
CHAFFEE COUNTY DEPUTY
SHERIFF SCOTT GLENN:

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THOMAS MONTOYA Condenselt!™ July 24, 2006
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] Q Okay. How long after lunch was it, if 1 about after lunch where everybody had to go back to
2 you know? 2 their cells to be counted?
3 A How long was it after lunch for what? 3 A No.
4 Q For -- that the training started. © 4 Q That kind of thing would happen at Buena
5 A Well, they take lunch and then come back 5 Vista, right, that everyone at some times of the day
6 in and start training, I guess, at 1. 6 would have to go back to their cells and be counted;
7 Q Was there any kind of count after lunch 7 right?
8 in the Chaffee County jail? 8 A No.
9 A I wouldn't know for positive. 9 Q No.
110 Q Okay. I mean, back to your experience 10 A If an inmate has a job over at another
11 at the DOC, I understand that the DOC, in most of its 11 place within the facility -- like we had leather
12 facilities, does two kinds of counts. One is a formal 12 shop -- he would be counted by those people at a
13 count where the offender would have to essentially 13 specific count time.
14 respond to an officer to say I'm here; right? 14 Q Okay. That makes sense. All right.
15 A Yes. 15 Back to the day of the taser incident. Describe for me
16 Q And then another is an informal count - 16 how it was that you entered the training room.
17 that might occur at different types of -~ times of the 17 A Describe for you how it was that I
18 day, including when the offenders are Sleeping; right? |18 entered the training room?
19 A Yes. 19 Q Yeah. What happened that led you to
20 Q Where the -- where the people that are 20 enter the training room?
21 counting would make visual contact with every inmate |21 A As I said, Scott Glenn -- Officer Scott
22 that was in the facility; right? 22 Glenn didn't have a training -- a partner to be tased
23 A Yes. — 23 with.
24 Q Okay. Presumably, the Chaffee County 24 Q Okay.
25 jail does some kind of counts every day; right? 25 A And I was standing outside the door,
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I A Presumably, yes, I guess. Yeah. That 1 outside the training facility, And Officer Glenn
2 would be -- 2 tumed to me and said, "Tommy, come in here and get
3 Q What -- one of the -- one of the jobs of 3 tased with me."
4 correctional officers or detention officers is to make 4 Q Okay.
5 sure that everybody who's supposed to be in the 5 A And he opened the door for me, andI —
6 facility is in the facility; right? 6 entered the classroom,
7 A Yes. 7 Q Okay. Did you perceive Mr. Glenn's .
8 Q Okay. What do you remember about the 8 asking you to be -- to participate in the tasing to be
9 counts during the day at the Chaffee County jail? 9 an order from a detention officer to you as an inmate?
10 A What do I remember about the counts? 10 A Did I perceive it as an order?
ll Q How many were there? When they 11 Q Yeah.
12 occurred? What you had to do to be counted? 12 A Yes. I would have to. It's a verbal
13 A I don't really recall. I mean ... I 13 command,
14 remember, in the old jail, one of the officers would 14 Q Okay. So you -- you believe that
15 walk through and count, but I think they done mostly |15 Officer Glenn was ordering you, as an inmate, to
16 like informal counts, but I'm not positive. 16 participate in a taser exercise?
17 Q Imean, did you ever have to stand up by 17 A Yes,
18 your cell door to be counted at any particular time in _|18 Q Okay. Was there any communication
19 the jail on a daily basis? 19 between Officer Glenn and anyone else in the training
20 A Not that I can recall. 20 room about you participating in the training exercise
21 Q And as a trustee, were you just counted 21 before he made the statement that you just described?
22 wherever you happened to be at the time? 22 A Did he discuss it with other officers
23 A Yes, That's why I don't know a whole 23 about bringing me into the classroom? Is that what
24 lot about counts. 24 you're asking?
25 Q So there wasn't a count that you know 25 Q Right.

 

 

 

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THOMAS MONTOYA Condenselt!™ July 24, 2006
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1 A Some. Some. 1 issue of medical care at the Chaffee County jail?
2 Q How did you spend that money? 2 A I don't believe so, because I probably
3 A A little bit on canteen. I didn't have 3 never seen them.
4 very much money and I don't -- you know, I don't know 4 Q Do you know who the members of the Board
5 if they paid me or not while I was in Salida. I'm not 5 of County Commissioners of Chaffee County were at the
6 sure. I know they did in Park County, what little bit 6 time you were incarcerated in the Chaffee County jail?
7 I did for them. But I don't know if Salida did or not. 7 A No, sir, I don't.
8 I know Park County did because I think I had $32 when I 8 Q Did you ever fill out a request to see
9 came back. 9 medical during the time that you were in the Chaffee
10 Q Do you know how much it would have been 10 County jail?
1] to go see the doctor? i A Yes. Yes, I did.
12 A FE don't know. 12 Q Okay. How many times?
13 Q Okay. 13 A Ican't be positive. Not very much. I
14 A At the time, they had told me, but I 14 don't -- don't do doctors very well.
15 don't recall. 15 Q Do you remember what the reason was that
16 Q Was it a lot? 16 you wanted to see medical?
17 A No. Compared to seeing the doctor out 17 A Because of my headaches.
18 here compared to seeing a doctor in there, yeah, it's 18 Q In the request to see medical, do you
19 cheap, but if you don't have money, you don't have 19 recall whether or not you included that you thought .
20 money. 20 your headaches were related to the taser incident?
21 Q Tunderstand. Okay. Let me see if I'm 21 A I don't believe so.
22 clear. I mean, you believe you told a nurse that you 22 Q Okay. Allright. At some point, you
23 had headaches because you had been tased; is that 23 have a conversation with a reporter from the Denver
24 right? 24 Post; right?
25 A Yes. 25 A Yes.
Page 154 Page 156
] Q Okay. 1 Q Okay. A fellow named Sean Kelly? ‘
2 A She asked me why I had headaches, and I 2 A Yes,
3 told her I wasn't for sure, but this occurred and that 3 Q Okay. How did you get into contact with
4 would be the only incident that would cause something 4 Mr. Kelly?
5 like that, I would think. 5 A Telephone.
6 Q And did she react in any other way after 6 Q Okay. You just called the main number
7 you imparted this information to her? 7 at the Denver Post?
8 A She just gave me Tylenol and would make 8 A Yes.
9 sure -- she was nice. She would ask me if I had a 9 Q Okay. When did that conversation occur?
10 headache and if I would need Tylenol pretty much on a 10 A I'm not positive,
11 daily basis. i Q Okay. Does the date January 28th,
12 Q And whenever you wanted Tylenol, she 12 2004, sound right to you?
13 gave it to you? 13 A I can't be positive.
14 A Yes. 14 Q Okay. What made you decide to call The
15 Q Did the Tylenol help your headaches? 15 Denver Post?
16 A Some. It tore my stomach up, but ... 16 A What made me decide to call The Denver
{7 Q Okay. Do you recall any other specific 17 Post? I thought about what they did and that they
18 interactions you had with anyone with medical at the 18 didn't give me any medical attention. And I probably
19 Chaffee County jail? 19 discussed a little bit with my cellie, my roommate, and
20 A No, Not to my knowledge. 20 he probably told me that they can't do that type of
2) Q Did you ever discuss with Sheriff Walker 21 stuff and that I should tell somebody. So I don't even
22 the issue of medical care at the Chaffee County jail? 22 know what gave me the idea to contact him.
23 A Not to my knowledge. 23 Q Did you contact Mr. Kelly specifically,
24 Q Did you ever discuss with any member of 24 or did you just kind of call the main number of the
25 the Board of County Commissioners of Chaffee County the {25 Denver Post and say, 1 want to talk to a reporter about

 

 

 

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THOMAS MONTOYA

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1 was an investigator for the District Attorney; right?
2 A 11th Judicial District, yes.

3 Q Okay. Other than Mr. Post, did you

4 speak to anyone else that was affiliated with the

5 District Attorney of the 11th Judicial District about
6 the taser incident?

7 A I think I wrote Molly Walker a letter,

8 the District Attorney.

9 Q Okay. ,

10 A And I think it was a general letter to

11 the District Attorney. I don't know if I knew her at
12 the time --

13 Q Okay.

14 A -- per se, And I just -- I think, in

15 the letter, I explained what happened and I would like
16 to try and press charges.

\7 Q Was it before or after this letter

18 that's Exhibit 14?

19 A Before.

20 Q Okay. Do you have a copy of that

21 letter?

22 A I'm not positive. I would have to dig

23 through all my stuff.

24 MR. RINGEL: I haven't seen that letter,

25 but I don't know if either of you have.

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18

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Ms. Walker in writing other than Exhibit 147

A Idon't think so.

Q Okay. Did you ever have a conversation
with anyone at the Park County jail about why you were
transferred from the Chaffee County jail to the Park
County jail?

A Conversation in why I was transported?

Q Transferred, Right.

A Transferred. Probably some of the
officers there questioning them,

Q Okay.

A Specifics, I don't recall. I was trying
to find out why J was there,

Q Okay. .

A I didn't know.

Q Okay. Do you remember the names of any
officer that you had a conversation with about why you
were there or why you ended up from the Chaffee County

19 jail to the Park County jail?

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A Truthfully, I can't remember, probably,
maybe one of their names. It's only because I read it
on the paper.

Q Okay.

A I'm sorry.

Q That's okay. Do you remember having a

 

MR. MELONAKIS: No,
MR. RINGEL: Marcel, if you could see if
Mr. Montoya can find that letter, that would be great.
MR. KRZYSTEK: Well, I can ask again,
but we went through all the documents, I think, that
he's got relevant to this case --
MR. RINGEL: Okay.
MR. KRZYSTEK: -- and I didn't see
anything like that. Otherwise, I would have produced
it.

Oe DA ter fF Ww WH —

ba fe
— ©

MR. RINGEL: I believe you.

THE DEPONENT: Some of it I brought you
today is kind of scattered.

MR. RINGEL: Okay.

MR. KRZYSTEK: Nothing he brought today
is responsive to what -- the subject of your inquiry
right now.

MR. RINGEL: I understand. That's fine.
All right. Well, if you come across it, give it to

BABA eee
_ OM CO SN HA HH RR Ww

forward it to me, but -- and Mr. Melonakis. If you
don't have it anymore, you don't have it anymore.
That's the way life works sometimes, Okay.

Q (BY MR. RINGEL) All right. Other than
25 that, did -- did you ever receive anything from

wh oh
mB wh

 

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Mr. Krzystek or Mr. Lane and they will make sure they

 

24
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Page 176
conversation with Sergeant Muldoon about that topic?

A [recall Sergeant Muldoon. To recall a
conversation, J -- I can't.say yes or no, honestly,

Q Do you recall any conversation that you
might have had with Sergeant Muldoon during the time ’
that you were incarcerated in the Park County jail?

A No. Honestly, I can't be specific and
be truthful.

Q Okay. I understand. Do you recall ever
having a conversation with Captain Gore during the time
that you were incarcerated in the Park County jail?

A Yes. Yes, I do.

Q Okay. Do you recall anything that you
talked to Captain Gore about at any time?

A Why I was locked down 23-7.

Q Okay. And what did Captain Gore tell
you?

A Because I'm an ex-cortectional officer
and because he's trying to protect me.

Q Okay. Did that make sense to you?

A No.

Q Why?

A Because I was in general population in
Fremont County for five months and everybody knew it
there -- that I was a correctional officer -- and

 

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1 nothing happened. I was in general population and a 1 right?
2 trustee with constant contact with all the other 2 A Yes. But that was -- that's not new
3 inmates in Salida and never really had any problems. 3 information to Freemont County, Chaffee County, or -- .
4 Q Okay. 4 that I done general population time in. —
5 A And then ] got shipped to Park County 5 Q Okay. Well, do you believe that had you
6 and I really didn't do anything, I don't think, to 6 been sentenced to the Department of Corrections, that
7 deserve to be locked down 23 hours a day. AndI was | 7 you would have been safe being an inmate, say, at the
8 never explained why. I've written kites about it, 8 Buena Vista correctional facility?
9 but -- 9 MR. KRZYSTEK: Object to the form. You
10 Q Okay. Well, wasn't Captain Gore telling 10 can answer if you can.
1) you that it was for your own protection, an explanation {1} A Would I think that I would be in
12 of why? 12 jeopardy?
13 A Yes. 13 Q (BY MR. RINGEL) Right.
14 Q But you didn't agree with that decision? 14 A There actually is no such thing as P.C.,
15 A Why -- well, first of all, why would 15 protective custody, in DOC. There is no thing -- no
16 they ship me to Park County when I live in Fremont 16 such thing.
17 County and had already spent five months in Fremont {17 Q lunderstand that.
18 County? Why would they not send me back to where I |18 A As for my protection, I don't think an
19 came from and my home? Instead, they send me to Parkii9 officer inside a jail can protect any inmate.
20 County, 300 miles away from my family -- 20 Q Okay. But do you think that, as a
21 Q Okay. 21 former correctional officer in the Department of
22 A -- you know, and then they locked me 22 Corrections system, if you happen to have been
23 down 23 hours a day. And what did I do, you know? [23 incarcerated in a Department of Corrections facility,
24 Q During the time that you were in the  |24 that you might be more of a target than other inmates?
25 Fremont County jail, were there inmates there that had [25 A How could I say that? I don't know,
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1 been sentenced to the Colorado Department of 1 Q Okay. Were you aware, during the time
2 Corrections? 2 that you were a correctional officer at the Department
3 A I'm sure there was. 3 of Corrections, of anyone who was a former correctional
4 Q Okay. You are aware that inmates that 4 officer being incarcerated at a Department of
5 had been sentenced to the Colorado Department of 5 Corrections facility?
6 Corrections were housed at the Park County jail at the | 6 A Police officers.
7 time that you were incarcerated there; right? 7 Q But -- but Department of Corrections
8 A Yeah, I knew some DOC inmates were 8 officers?
9 there. 9 A The Department of Corrections like I
10 Q Okay. Do you think it matters whether 10 was?
11 there was 2 DOC inmate there in terms of your safety as {11 Q A former --
12 a former DOC correctional officer, or do you think that |12 A DOC ~
13 it doesn't matter at all? 13 Q Right. A former DOC correction officer,
14 A I wouldn't think that it mattered a 14 being incarcerated after being convicted of a crime in
15 whole lot. When I first got to Park County, they did 15 a DOC facility. Are you aware of that circumstance
16 put me in general population for a little bit. 16 ever occurring?
17 Q Okay. 17 A I'm not positive that it would have
18 A Then that newspaper article came out, 18 occurred, but I've been told that that -- that it
19 and they locked me down. 19 doesn't matter. And I seen while I was an officer,
20 Q Okay. Well, the newspaper article 20 there was a police officer that was incarcerated in a
21 indicates that you were a former Department of 21 State facility.
22 Corrections officer; right? 22 Q At CSPor at Buena Vista?
23 A Yes. 23 A Buena Vista.
24 Q And the Denver Post would have been 24 Q Okay. In general population?
25 available to the inmates at the Park County jail; 25 A Yes, sir,

 

 

 

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